Case: 6:09-cr-00016-KKC   Doc #: 192-6 Filed: 05/04/09   Page: 1 of 7 - Page ID#:
                                      752
Case: 6:09-cr-00016-KKC   Doc #: 192-6 Filed: 05/04/09   Page: 2 of 7 - Page ID#:
                                      753
Case: 6:09-cr-00016-KKC   Doc #: 192-6 Filed: 05/04/09   Page: 3 of 7 - Page ID#:
                                      754
Case: 6:09-cr-00016-KKC   Doc #: 192-6 Filed: 05/04/09   Page: 4 of 7 - Page ID#:
                                      755
Case: 6:09-cr-00016-KKC   Doc #: 192-6 Filed: 05/04/09   Page: 5 of 7 - Page ID#:
                                      756
Case: 6:09-cr-00016-KKC   Doc #: 192-6 Filed: 05/04/09   Page: 6 of 7 - Page ID#:
                                      757
Case: 6:09-cr-00016-KKC   Doc #: 192-6 Filed: 05/04/09   Page: 7 of 7 - Page ID#:
                                      758
